Case 2:10-md-02179-CJB-DPC Document 4340-2 Filed 10/17/11 Page 1 of 3




                    IN RE: DEEPWATER HORIZON LITIGATION
                                 MDL NO. 2179

JAMES PARKERSON ROY                                          STEPHEN J. HERMAN
Domengeaux Wright Roy & Edwards LLC                          Herman, Herman Katz & Cotlar, LLP
556 Jefferson St. Suite 500                                  820 O’Keefe Ave.
Lafayette, LA 70501                                          New Orleans, LA 70113
Telephone: (337) 233-3033                                    Telephone: (504) 581-4892
Direct: (337) 593-4190                                       Direct: (504) 680-0554
Fax: (337) 233-2796                                          Fax: (504) 561-6024




                                         October 17, 2011
                                              BY HAND

The Honorable Carl J. Barbier
United States District Judge
500 Poydras Street, Room C-268
New Orleans, Louisiana 70130


          Re: Public Records


Dear Judge Barbier:

       Plaintiffs respectfully submit the following to address the admissibility of various
Government Reports, including, for example, the Report of the National Commission on
the BP Deepwater Horizon Oil Spill and Offshore Drilling, (Trial Exhibit 06300), 1 and
the Investigation Report by the U.S. Chemical Safety and Hazard Investigation Board
into Texas City Refinery Explosion and Fire, (Trial Exhibit 06012). 2




       1 President Barack Obama announced the creation of the National Commission on the BP
Deepwater Horizon Oil Spill and Offshore Drilling on May 22, 2010, and directed it to provide a
thorough analysis and impartial judgment in determining the causes of the Deepwater Horizon
disaster. The Report of the National Commission on the BP Deepwater Horizon Oil Spill and
Offshore Drilling was the result of an intense six-month effort to fulfill the President’s charge.
      2 The Investigation Report by the U. S. Chemical Safety and Hazard Investigation Board
(the “CSB”) into Texas City Refinery Explosion and Fire was generated in March 2007 after the
March 23, 2005 disaster at BP’s Texas City Refinery that killed 15 people and injured 180 others.
The CSB generated the 283-page report after an intensive investigation of BP’s safety
performance at Texas City, the role played by BP Group management based in London, England,
and the effectiveness of the Occupational Safety and Health Administration (OSHA).
Case 2:10-md-02179-CJB-DPC Document 4340-2 Filed 10/17/11 Page 2 of 3




Admissibility of Public Records and Reports

        Several of the Trial Exhibits objected to on the basis of hearsay constitute a
“public record” or “public report” and, therefore, fall within the exception to hearsay set
forth in Federal Rule of Evidence 803(8).

        Federal Rule of Evidence 803excepts from the general hearsay rule any “records,
reports, or data compilation, in any form, of public offices or agencies, setting forth . . .
(B) matters observed pursuant to duty imposed by law as to which matters there was a
duty to report, . . . or (C) in civil actions and proceedings . . . , factual findings resulting
from an investigation made pursuant to authority granted by law, unless the sources of
information or other circumstances indicate lack of trustworthiness.” FED. RULE EVID.
803(8) (emphasis added). Under this exception, several documents on which the
defendants object to hearsay are clearly admissible. 3

        For nearly a century, this exception to hearsay has been recognized by the
Supreme Court, due to the high reliability of government records and reports. See
Chesapeake & Del. Canal Co. v. United States, 250 U.S. 123, 128-29 (1919) (noting that
“their character as public records . . . make these . . . admissible as unusually trustworthy
sources of evidence). Moreover, due to the high reliability of this evidence, this
exception has been interpreted broadly. See Beech Aircraft Corp. v. Rainey, 488 U.S.
153, 169 (1988) (explaining that Rule 803(8)(C) embodies a “broad approach to
admissibility” and holding that portions of a . . . report containing conclusions . . . were
not inadmissible under Rule 803(8)(C)). Indeed, the phrase “factual findings”
encompasses a report’s rote recitation of the facts, as well as its opinions and
conclusions. Moss v. Ole South Real Estate, Inc., 933 F.2d 1300, 1305 (5th Cir. 1991)
(holding “opinions and conclusions, as well as facts, are covered by Rule 803(8)(C))
(citation omitted). In Beech Aircraft, the Supreme Court noted that the primary
protection against admission of unreliable evidence was the Rule's provision directing
exclusion of all elements of the report—both factual and evaluative—if the court
determines that they lack trustworthiness. 488 U.S. at 167 n.11 (citing Fed. R. Evid.
803(8) advisory committee note). Therefore, if the record facially satisfies the
requirements of the rule, the opponent has the burden to demonstrate lack of
trustworthiness. See Graef v. Chemical Leaman Corp., 106 F.3d 112, 118 (5th Cir.
1997); see also Moss, 933 F.2d at 1305 (5th Cir. 1991). Of course, the reports proffered
here are reliable and BP has not made any showing that demonstrates a lack of
trustworthiness on any of these public records and reports.


       3 To draw the Court’s attention to specific exhibits, BP objects to the following public
records or reports: TRIAL EXHIBIT 06012 (Investigation Report by the U.S. Chemical Safety and
Hazard Investigation Board into Texas City Refinery Explosion and Fire); TRIAL EXHIBIT 00986
(Chief Counsel’s Report); TRIAL EXHIBIT 06001 (Dr. Tony Hayward’s Congressional
Testimony); TRIAL EXHIBIT 06010 (BP Deferred Prosecution Agreement); TRIAL EXHIBIT 06028
(OSHA Fact Sheet regarding BP); TRIAL EXHIBIT 06300 (Report of the National Commission on
the BP Deepwater Horizon Oil Spill and Offshore Drilling).
Case 2:10-md-02179-CJB-DPC Document 4340-2 Filed 10/17/11 Page 3 of 3




        Further, case law supports admitting all governmental investigative reports in this
case. See Cortes v. Maxus Exploration Co., 977 F.2d 195, 201 (5th Cir. 1992) (holding
that under Fed. R. Evid. 803(8)(C), investigative reports made by government agencies
are removed from the rule against hearsay unless circumstances indicate
untrustworthiness); see also McClure v. Mexia Indep. Sch. Dist., 750 F.2d 396 (5th Cir.
1985) (same). For example, the Presidential Commission Report, the Texas City
investigative report and others are straightforward public records as investigative reports.
Further, the rule permits reports in “any form” and, therefore, the OSHA fact sheet and
department of labor press release are merely summaries of their findings / reports and are
likewise public records. Accordingly, all governmental investigative reports should be
deemed admissible under Rule 803(8).

        Likewise, Dr. Tony Hayward’s congressional testimony is admissible as a public
record. Congressional testimony fits the definition of 803(8). See Cozzo v. Tangipahoa
Parish Council-President Gov't, 279 F.3d 273, 291-292 (5th Cir. 2002) (finding no error
in the admission of a hearing transcript under the public record exception to hearsay).
Additionally, multiple courts have specifically found congressional testimony to be a
public record. See In re Moody's Corp. Sec. Litig., 599 F. Supp. 2d 493, 504 (S.D.N.Y.
2009) (holding transcripts of congressional hearing testimony are public records, which
courts have found to be subject to judicial notice); see also Johnson & Johnson v. Am.
Nat. Red Cross, 528 F. Supp. 2d 462, 463 n. 1 (S.D.N.Y. 2008) (finding that
congressional hearing testimony is a public record and is subject to judicial notice).
Alternatively, the Court can simply take judicial notice of the congressional testimony
instead of admitting it through the hearsay exception. See Newby v. Lay (In re Enron
Corp. Sec., Derivative & ERISA Litig.), 258 F. Supp. 2d 576, 624 n.54 (S.D. Tex. 2003)
(taking judicial notice of congressional testimony). Accordingly, TRIAL EXHIBIT 06001,
Dr. Tony Hayward’s congressional testimony, is admissible, as are all of the other public
records proffered by the PSC. (Dr. Hayward’s testimony is additionally and separately
admissible to the extent that it contains prior inconsistent statements, properly used for
impeachment purposes.) (Dr. Hayward’s testimony is additionally admissible as an
admission by an officer making a statement for a Defendant in a representative capacity.)

       As always, we appreciate the Court’s time and consideration in this matter.


                                                             Respectfully submitted,

                                                             JAMES PARKERSON ROY
                                                             STEPHEN J. HERMAN
                                                             Plaintiffs’ Liaison Counsel

cc: Hon. Sally Shushan (via E-Mail)
    DEFENSE LIAISON COUNSEL (via E-Mail)
    Mike Underhill, Esq. (via E-Mail)
    Hon. Luther Strange (via E-Mail)
    Ben Allums (via E-Mail)
    Mike O’Keefe (via E-Mail)
